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                     IN THE UNITED STATES BANKRUPTCY COURT FOR
                          THE WESTERN DISTRICT OF MISSOURI


In re:   INTERSTATE UNDERGROUND WAREHOUSE                    )
         AND INDUSTRIAL PARK, INC.                           )      Case. No. 21-40834
                          Debtor.                            )      Chapter 11
                                                             )


                     AFFIDAVIT OF ERLENE KRIGEL
 REGARDING SUMMARY OF BALLOTS FOR PLAN OF REORGANIZATION FILED ON
      JANUARY 31, 2022 AND AMENDED PLAN FILED ON MARCH 1, 2022

I, Erlene W. Krigel, upon my oath, state that I have received 12 ballots in the above- referenced
proceeding and the following is an accurate summary of the balloting:

                                             AMOUNT OF CLAIM           ACCEPT REJECT

         CLASS ONE:
         Woodmen of the World                $2,269,303.25                  X

         CLASS TWO:
         C. Floyd and Sharon Anderson        $853,228.00                    X

         CLASS THREE:
         Optima, LLC                         $604,750.83                    X

         CLASS FOUR:
         Ford Motor Credit                   $20,783.23                     X


         CLASS FIVE:
         Ford Motor Credit                   $11,923.29                     X

         CLASS SIX:
         Citizens Bank & Trust Co.           $7,318,202.21                  X

         CLASS SEVEN:                        No Ballot Returned

         CLASS EIGHT:                        No Ballot Returned

         CLASS NINE:                         No Ballot Returned

         CLASS TEN:

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      Lease Consultants Corporation   $23,555.07              X

      CLASS ELEVEN:                       No Ballot Returned

      CLASS TWELVE:                       No Ballot Returned

      CLASS THIRTEEN:
      Excellent Holdings, LLC             $1,100                          X
      MarksNelson, LLC                    $4,171.29                             X
      Custom Refrigeration Solutions      $0                              X
      Wayne Reeder                        $0                                    X

      CLASS FOURTEEN:
      Kline Van & Specialty Rental, LLC $11,500,00                              X

      CLASS FIFTEEN:                      No Ballot Returned


                                                  /s/ Erlene W. Krigel
                                                      Erlene W. Krigel

              Subscribed and sworn before me this 4th day of March, 2022.

                                                  /s/ Jamie L. Dulle
                                                          Notary Public
       My Commission Expires: 12/20/2024

           Jamie L. Dulle
     Notary Public – Notary Seal
      STATE OF MISSOURI
       JACKSON COUNTY
MY COMMISSION EXPIRES Dec.20, 2024
      Commission # 04380446




                                                  Submitted by:

                                                  KRIGEL & KRIGEL, P.C.

                                                  /s/ Erlene W. Krigel
                                                  Erlene W. Krigel, No. 29416
                                                  4520 Main St., Ste. 700
                                                  Kansas City, Missouri 64111
                                                  (816) 756-5800
                                                  FAX: (816) 756-1999
                                                  ekrigel@krigelandkrigel.com
                                                  ATTORNEYS FOR DEBTOR


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                                 CERTIFICATE OF SERVICE

        I hereby certify that on March 4, 2022, a copy of the foregoing was mailed,
electronically, to all persons requesting notice through the Court’s ECF noticing system.

                                             /s/ Erlene W. Krigel
                                                  Erlene W. Krigel




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